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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

In re: CIRCUIT CITY STORES, INC., et al.,                   Case No. 08-35653-KRH
                  Debtors.                                  Chapter 11
                                                            (Jointly Administered)
____________________________________

ALFRED H. SIEGEL, Trustee of the
Circuit City Stores, Inc. Liquidating Trust,

                      Plaintiff,

               v.                                           Adv. Pro. No. 19-03091-KRH

UNITED STATES TRUSTEE PROGRAM, et al.,

                  Defendants.
_____________________________________

                                            ORDER

         Upon consideration of the Defendants’ Motion to Dismiss and Memorandum in Support

[ECF No. 45] (the “Motion to Dismiss”) filed in the above-captioned consolidated adversary

proceedings, the Court having reviewed the pleadings and having considered the arguments of

counsel at the hearing conducted on November 15, 2022, for the reasons set forth in the

accompanying Memorandum Opinion entered substantially contemporaneously herewith, it is

hereby

         ORDERED, ADJUDGED, AND DECREED THAT:

         1.    The Motion to Dismiss is DENIED.

         2.    The Plaintiff is entitled to a refund in the amount of the portion of the quarterly

U.S. Trustee fees paid that exceeded the amount the Plaintiff would have had to pay in a

bankruptcy administrator district, inclusive of the first three quarters of calendar year 2018 (the

“Unconstitutional Overpayment”).
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       3.      The Court will reconvene on January 18, 2023, at 1:00 p.m. the pre-trial

conference that had been continued generally on the Court’s docket (the “Pre-Trial Conference”)

in order to, amoung other things, schedule the trial of this matter. The Pre-Trial Conference shall

be conducted both in-person and by Zoom for Government. Persons wishing to appear at the

Hearing may participate by either, at their option, appearing in person at Judge Huennekens’

Courtroom, 701 E. Broad St., Courtroom 5000, Richmond, Virginia, or registering in advance at:

https://www.zoomgov.com/meeting/register/vJIscuqtrzovGFfOxcvK4FseAfd9d5Q4fsg

Dated: December 15, 2022                       /s/ Kevin R. Huennekens
                                              UNITED STATES BANKRUPTCY JUDGE

                                              Entered on Docket:   Dec 15 2022
Copies to:

Kathryn R. Montgomery
Office of the United States Trustee
701 East Broad Street, Ste. 4303
Richmond, VA 23219

Ramona D. Elliott
P. Matthew Sutko
Beth A. Levene
Department of Justice
Executive Office for United States Trustees
441 G Street, N.W., Suite 6150
Washington, DC 20530

Paula S. Beran
Lynn L. Tavenner
Tavenner & Beran, PLC
20 North Eighth Street, Second Floor
Richmond, VA 23219

Richard. M. Pachulski
Andrew W. Caine
Jeffrey N. Pomerantz
Pachulski Stang Ziehl & Jones LLP
10100 Santa Monica Boulevard, 13th Floor
Los Angeles, California 90067-4100



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Robert J. Feinstein
Pachulski Stang Ziehl & Jones LLP
780 Third Avenue, 34th Floor
New York, New York 10017

Daniel L. Geyser
Haynes and Boone, LLP
2323 Victory Avenue, Ste. 700
Dallas, Texas 75219




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